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                                                                             FILED
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division          Li: Xi n A ih !3

  UNITED STATES OF AMERICA,
                                                                             ..''I .-%•   I



                                                              No. 1:19MJ-


 DANIEL C. LEE,
                                                              Court Date: July 1, 2019

           Defendant.


                                   CRIMINAL INFORMATION

                                 Count I(Misdemeanor 7517609)



THE UNITED STATES ATTORNEY CHARGES THAT:



        On or about May 21, 2019, at Fort Belvoir, Virginia, within the special maritime and

territorial jurisdiction ofthe United States in the Eastern District of Virginia, the defendant,

DANIEL C. LEE,did unlawfully operate a motor vehicle while under the influence of any

narcotic drug or any other self-administered intoxicant or drug of whatsoever nature, or any

combination of such drugs, to a degree which impaired his ability to drive or operate any motor

vehicle.



(In violation of Title 18, United States Code, Section 13 assimilating Virginia Code Section
18.2-266(ii))
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